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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA


 (1) JAY BOLGREN,                                                 )
                                                                  )
                       Plaintiff,                                 )
                                                                  )       CIV-16-218-R
 vs.                                                              )
                                                                  )       VERIFIED COMPLAINT
 (1) JON BARRY & ASSOCIATES, INC. DBA                             )   (Unlawful Debt Collection Practices)
 PARAGON REVENUE GROUP,                                           )
                                                                  )        JURY TRIAL DEMANDED
                       Defendant.



                          PLAINTIFF’S VERIFIED COMPLAINT

       NOW COMES Plaintiff, Jay Bolgren, and for the Verified Complaint against Defendant,

Jon Barry & Associates, Inc. dba Paragon Revenue Group, alleges as follows:

                                       INTRODUCTION

       1.     Plaintiff states a claim against Jon Barry & Associates, Inc. dba Paragon Revenue

Group (“Paragon”) for violation of the Fair Debt Collection Practices Act, codified 15 U.S.C. §

1692 et seq. (hereinafter “FDCPA”), which was enacted in 1978.

       2.     Congress stated its findings and purpose of the FDCPA:

       (a) Abusive practices

                  There is abundant evidence of the use of abusive, deceptive,
                  and unfair debt collection practices by many debt collectors.
                  Abusive debt collection practices contribute to the number of
                  personal bankruptcies, to marital instability, to the loss of jobs,
                  and to invasions of individual privacy.

       (b) Inadequacy of laws

                  Existing laws and procedures for redressing these injuries are
                  inadequate to protect consumers.

       (c) Available non-abusive collection methods

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                    Means other than misrepresentation or other abusive debt
                    collection practices are available for the effective collection of
                    debts.

        (d) Interstate commerce

                    Abusive debt collection practices are carried on to a substantial
                    extent in interstate commerce and through means and
                    instrumentalities of such commerce. Even where abusive debt
                    collection practices are purely intrastate in character, they
                    nevertheless directly affect interstate commerce.

        (e) Purposes

                    It is the purpose of this title to eliminate abusive debt collection
                    practices by debt collectors, to insure that those debt collectors
                    who refrain from using abusive debt collection practices are not
                    competitively disadvantaged, and to promote consistent State
                    action to protect consumers against debt collection abuses.

                                 JURISDICTION AND VENUE

        3.      Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that

such actions may be brought and heard before “any appropriate United States district court without

regard to the amount in controversy.

        4.      Defendant conducts business in the state of Oklahoma; therefore, personal

jurisdiction is established.

        5.      Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

                                              PARTIES

        6.      Plaintiff is a natural person who resides in Oklahoma City, County of Oklahoma,

Oklahoma.


        7.      Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and according

to Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

        8.      Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6), and


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sought to collect a consumer debt from Plaintiff. Upon information and belief, Defendant collects

consumer debt, such as the medical debt sought to be collected from Plaintiff, and reports on

consumers’ credit reports in furtherance of its debt collection activities.

        9.       Plaintiff is informed and believes, and thereon alleges, that Defendant is a

collections business with an office in Concord, North Carolina.

        10.      Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                   FACTUAL ALLEGATIONS

        11.      On or about June 4, 2015, Defendant wrote to plaintiff seeking to collect a debt a

$120 debt, allegedly owed to Midwest Regional Medical with the account number ending in x958.

        12.      On August 6, 2015, Defendant wrote to Plaintiff seeking to collect a $160 debt,

allegedly owed to Midwest Regional Medical with the account number ending in x783.

        13.      On August 14, 2015, Plaintiff wrote to Defendant advising that he disputed the

alleged accounts and balances sought by Defendant.

        14.      On September 5, 2015, Defendant reported an $80 debt to Plaintiff’s Trans Union

credit report. Despite having received Plaintiff’s August 14, 2015 correspondence disputing the

debt on August 18, 2015, Defendant did not mark the debt as “disputed” on Plaintiff’s Trans Union

credit report.

        15.      On September 22, 2015, Plaintiff called Defendant to obtain more information

regarding his accounts with its office. In this call, Defendant stated that Plaintiff actually had “six

accounts” in its office. During this call, Defendant confirmed that account number x958 was

actually for $80, not $120 as stated in Defendant’s June 4, 2015 letter.

        16.      15 U.S.C. § 1692e of the FDCPA also provides as follows:

                 False or misleading representations


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               A debt collector may not use any false, deceptive, or misleading
               representation or means in connection with the collection of any debt.
               Without limiting the general application of the foregoing, the
               following conduct is a violation of this section:

               . . . (10) The us on any false representation or deceptive means to
               collect or attempt to collect any debt or to obtain information
               concerning a consumer. . . .

       17.     By only communicating two different account numbers in its correspondences to

plaintiff that a) differ in amount reported to Plaintiff’s credit bureaus and, b) differ in amount

from the amounts sought to be collected during the September 22, 2015, phone call with

Plaintiff, Defendant Paragon made a materially false, deceptive and misleading statement in

violation of §§ 1692e and 1692e(10) of the FDCPA.

       18.     Plaintiff was confused, and an unsophisticated consumer would be confused, by

Paragon’s statement that the account balance for accounts x958 and x783 were in a different

amount than sought to be collected during the September 22, 2015 phone call.

       19.     Plaintiff, and an unsophisticated consumer, could be led to believe that the

account balances for the x958 and x783 were higher than they actually were, and that it was only

necessary to dispute the two account numbers provided to him.

       20.     Additionally, on or before September 5, 2015, Paragon knew or should have

known that Plaintiff had disputed the alleged debt that it reported to Trans Union (and other

credit reporting agencies) because Plaintiff had previously notified Paragon of that dispute by

letter on August 14, 2015.

       21.     15 U.S.C. §1692e of the FDCPA provides as follows:

               False or misleading representations

               A debt collector may not use any false, deceptive, or misleading
               representation or means in connection with the collection of any debt.



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               Without limiting the general application of the foregoing, the following
               conduct is a violation of this section:

                . . . (8) Communicating or threatening to communicate to any person
               credit information which is known or which should be known to be
               false, including the failure to communicate that a disputed debt is
               disputed. . .

       22.      Even though Paragon knew or should have known, prior to September 5, 2015,

that Plaintiff disputed owing the alleged debt, Paragon failed to thereafter communicate the fact

of Plaintiff’s dispute to the Trans Union and other credit reporting agencies when it

communicated other information regarding the alleged debt, in violation of 15 U.S.C. §

1692e(8).

       23.      Credit reporting by a debt collector constitutes an attempt to collect a debt. See,

e.g., Rivera v. Bank One, 145 F.R.D. 614, 623 (D.P.R. 1993) (a creditor’s report of a debt to a

consumer reporting agency is a “powerful tool, designed in part to wrench compliance with

payment terms from its cardholder”).

       24.      Defendant’s collection communications are to be interpreted under the

“unsophisticated consumer” standard. Duffy v. Landberg, 215 F.3d 871, 873 (8th Cir.2000).

       25.      Plaintiff has suffered actual damages as a result of these illegal collection

communications by Defendant in the form of aggravating Plaintiff's Bipolar disorder, anxiety

and depression, causing Plaintiff panic attacks and loss of sleep, and causing Plaintiff feelings of

being overwhelmed and worry.

                              COUNT I
    DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT,
                    (FDCPA), 15 U.S.C. § 1692 et seq.


       26.     Defendant violated the FDCPA. Defendant’s violations include, but are not

limited to the following:



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       a)      Defendant violated §1692e and §1692e(10) of the FDCPA by using false,

deceptive or misleading representation or means in connection with the collection of Plaintiff’s

alleged debt by only including two account numbers in dunning letters sent to Plaintiff, but

advising Plaintiff been telephonic conversations that actually had six different accounts in

Defendant’s offices with account balances that differed greatly from the balances conveyed in

writing by Defendant; and

       b)     Defendant violated § 1692e(8) of the FDCPA as it knew or should have known,

prior to September 5, 2015, that Plaintiff disputed owing the alleged debt, but Paragon failed to

thereafter communicate the fact of Plaintiff’s dispute to the TransUnion and other credit

reporting agencies when it communicated other information regarding the alleged debt.

       WHEREFORE, Plaintiff, Jay Bolgren, respectfully prays that judgment be entered

against Defendant, Jon Barry & Associates, Inc. dba Paragon Revenue Group, for the following:

       a)      Statutory damages of $1,000.00, pursuant to the FDCPA, 15 U.S.C. 1692k;

       b)      Actual damages pursuant to the FDCPA, 15 U.S.C. 1692k;

       c)      Costs and reasonable attorney’s fees pursuant to the FDCPA, 15 U.S.C. 1692k;

and

       d)      Any other relief that this court deems to be just and proper.

                                             Respectfully submitted,

                                             /s/ Victor R. Wandres       _
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